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                                                            GMS Report
                                              Second Chance Act Community Program
                                                         2018-CY-BX-0025
                                             Reporting Period: January 1 - June 30, 2020

This report is generated for the Establishing, Managing & Generating Effective Services, INc. grantee for federal award number
2018-CY-BX-0025. The award amount is $ 500,000. It reflects performance measurement data for the period January 1 - June 30, 2020. Any
funds reported only represent an estimate of dollars allocated or used for activities covered by this award.

Project Description
The Second Chance Act of 2007 (Pub. L. 110-199) provides a comprehensive response to the increasing number of incarcerated adults and
juveniles who are released from prison, jail, and juvenile residential facilities and returning to communities. The Second Chance Act grant
funding is designed to help communities develop and implement comprehensive and collaborative strategies that address the challenges posed
by reentry and recidivism reduction. ?Reentry? is not a specific program, but rather a process that starts when an individual is initially
incarcerated and ends when he or she has been successfully reintegrated in the community as a law-abiding citizen. Section 211 of the Act
authorizes grants to nonprofit organizations and federally recognized Indian tribes that may be used for comprehensive evidenced-based
wrap-around services/programs. The goal of the Comprehensive Community-Based Adult Reentry Program is the use of reentry plans that
address the identified needs of the individuals and is supported by trained mentors to promote the safe and successful community reintegration
of adults who have been incarcerated. These needs are often related to housing, employment, substance abuse, and mental health. The Second
Chance Act Comprehensive Community-Based Adult Reentry Program supports organizations providing comprehensive reentry services to
program participants who are screened, assessed, and identified for program participation pre-release. During the post-release phase of the
reentry program, participants will receive case management services and be connected to evidence-based programming designed to ensure that
the transition from prison or jail to the community is safe and successful. The grantee will provide pre-release mentoring and trauma-informed
curriculum to 75 people with a sex offense charge or conviction that are returning to Chicago from Cook County Jail or Illinois Department of
Corrections. Pre-release, the program will use standardized assessments and behavioral tools, such as motivational interviewing and cognitive
behavior techniques, to identify and address criminogenic behaviors. Post-release, the program will provide individual and group counseling,
case management, and aftercare services. CA/NCF

                                                                   Award Information
  2. Federal Congressional District of where services occur:                                                                         IL-01
  3. Please specify the implementing organization type:                                                                              Nonprofit organization
  4. Is the implementing organization a faith-based program? Organizations nationwide may self-define themselves as faith-based
  organizations.                                                                                                                     No

  5. Is the implementing organization a community-based program? BJA defines community-based programs as found in statute 42
  U.S.C. § 3791(a)(11): neighborhood or community-based organizations as "organizations, including faith-based, are representative   Yes
  of communities or significant segments of communities."




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Performance Measurement Data
                                                                         PROGRAM ADMINISTRATION - Program Characteristics
          Performance Measurement
                                                                          Jan - Mar 20                                           Apr - Jun 20
  15. Is the mentoring program jail based or
      prison based?                                                                                    Both                                                  Both
  16. Enter a mentoring program description
      below.

       Jan - Mar 20 Mentors provide emotional support and encouragement to individuals by promoting positive lifestyle changes by way of cognitive and
                    behavioral techniques. Mentoring in this context is the process of providing pre- and post-release services to detainees in jails and
                    prisons as well as to those reintegrating back into their communities via a trauma informed and mentoring curricula. In addition to
                    providing group mentoring, mentors also provide case management services to the participants to help them acquire needed
                    community resources, such as housing, physical and mental health services, employment, and job training skills. Mentors assist
                    participants in understanding trauma that they may have experienced and learn ways to cope with the trauma.

       Apr - Jun 20    Mentors provide emotional support and encouragement to individuals by promoting positive lifestyle changes by way of cognitive and
                       behavioral techniques. Mentoring in this context is the process of providing pre- and post-release services to detainees in jails and
                       prisons as well as to those reintegrating back into their communities via a trauma informed and mentoring curricula. In addition to
                       providing group mentoring, mentors also provide case management services to the participants to help them acquire needed
                       community resources, such as housing, physical and mental health services, employment, and job training skills. Mentors assist
                       participants in understanding trauma that they may have experienced and learn ways to cope with the trauma.

  17. List the target population the grantee will
      be serving.

       Jan - Mar 20 The target population is any adult age 18 or older who has been charged or convicted of a sexual offense and assessed to be of
                    medium to high-risk for recidivism. This population of individuals are either currently detained in the Department of Cook County jail, or
                    on supervision, probation or parole due to a sexual offense charge or conviction.

       Apr - Jun 20    The target population is any adult age 18 or older who has been charged or convicted of a sexual offense and assessed to be of
                       medium to high-risk for recidivism. This population of individuals are either currently detained in the Department of Cook County jail, or
                       on supervision, probation or parole due to a sexual offense charge or conviction.

  18. What is the expected number of
      participants the mentoring program plans to
      serve? Please provide the number of expected
      participants over the life of the grant award.
      This value may correspond to what was
      reported in the grant application.                                                                  75                                                   75
  19. What is the expected number of mentors
      the program plans to participate?                                                                   10                                                   10
  20. What is the date that the mentoring program
      first enrolled a participant with the BJA
      Second Chance Act award funding?                                                          10/01/2019                                           10/01/2019
  21. What is the date that the mentoring program
      first enrolled a participant?                                                             10/01/2019                                           10/01/2019

                                                                            PROGRAM ADMINISTRATION - Baseline Recidivism
          Performance Measurement
                                                                          Jan - Mar 20                                           Apr - Jun 20
  22. Have you calculated a baseline recidivism rate?
      A. Yes/No                                                                                          Yes Yes

      B. If no, please explain and skip remainder of
         section

       Jan - Mar 20 NR

       Apr - Jun 20    NR

  23. What is the baseline recidivism rate?                                                                3                                                    3
  24. What population was the baseline recidivism
      rate calculated for? Select one.
      A. Other                                                                                         Other Other

      B. If other, please explain:




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       Jan - Mar 20 Our pre-release target population is based upon individuals who are presently charged with a sex offense and are detainees in the Cook
                    County jail and our post-release population are those who have been convicted of a sex offense who are on court supervision,
                    probation, and parole as well as those persons referred to treatment with charges related to inappropriate sexual behaviors.

       Apr - Jun 20     Our pre-release target population is based upon individuals who are presently charged with a sex offense and are detainees in the Cook
                        County jail and our post-release target population are those who have been convicted of a sex offense who are on court supervision,
                        probation, and parole as well as those persons referred to treatment with charges related to inappropriate sexual behaviors.

  25. What type of baseline recidivism rate is the
      grantee providing? Select one.
      A. Reconviction rate                                                                Reconviction rate Reconviction rate

      B. If other, please explain:

       Jan - Mar 20 NR

       Apr - Jun 20     NR

  26. How long was the follow-up period for the
      baseline rate?                                                                                    12                                                  12
  27. What percent reduction in recidivism is the
      grantee trying to achieve?                                                                         1                                                   1
  28. What is the expected date when the
      recidivism reduction will be achieved?                                                   09/30/2021                                          09/30/2021
  29. Is there any other additional information
      you would like to provide about the baseline
      rate or your recidivism reduction goal? If “no,”
      write N/A.

       Jan - Mar 20 N/A

       Apr - Jun 20     N/A

                                                                       PROGRAM ADMINISTRATION - Mentoring Characteristics
           Performance Measurement
                                                                          Jan - Mar 20                                          Apr - Jun 20
  30. How many mentors were recruited to
      participate in training?
      A. For participants receiving pre-release
         services                                                                                        10                                                      8

      B. For participants receiving post-release
         services                                                                                        10                                                      8

  31. How many mentors successfully completed
      the mentor training?
      A. For participants receiving mentoring and
         pre-release services                                                                            10                                                      6

      B. For participants receiving mentoring and
         post-release services                                                                           10                                                      6

  32. Of those who successfully completed the
      mentor training, how many NEW mentors
      participated in the program?
      A. For participants receiving mentoring and
         pre-release services                                                                             0                                                      0

      B. For participants receiving mentoring and
         post-release services                                                                            0                                                      0

  33. What is the total number of mentors who
      participated during the reporting period?
      A. For participants receiving mentoring and
         pre-release services                                                                             8                                                      6

      B. For participants receiving mentoring and
         post-release services                                                                            8                                                      6

  34. How many mentors left the program during
      the reporting period?                                                                              2                                                   2
  34. How many mentors left the program in the
      reporting period?                                                                                  2                                                   2



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  35. How many participants needed to be
      matched to a mentor?
      A. For participants receiving mentoring and
         pre-release services                                                                             0                                                      0

      B. For participants receiving mentoring and
         post-release services                                                                          13                                                       2

  36. How many NEW matches were made
      between participants and mentors?
      A. For participants receiving mentoring and
         pre-release services                                                                             0                                                      0

      B. For participants receiving mentoring and
         post-release services                                                                          13                                                       2

  37. Does the mentoring program conduct group
      mentoring sessions?                                                                              Yes                                                 Yes
  38. What is the maximum number of
      participants able to be included within group
      mentoring sessions?
      A. For participants receiving mentoring and
         pre-release services                                                                           15                                                      15
      B. For participants receiving mentoring and
         post-release services                                                                          15                                                      15
  *NR = not reported

                                                                PARTICIPANT CHARACTERISTICS - Eligibile and Admitted Participants
            Performance Measurement
                                                                            Jan - Mar 20                                       Apr - Jun 20
  39. How many individuals were eligible to participate
      in the mentoring program?
      A. Number eligible for pre-release services                                                         16                                                     0

  40. How many total participants were enrolled in
      the mentoring program?
      A. Total number enrolled to pre-release services                                                        3                                                  0

      B. Total number enrolled to post-release services                                                   85                                                    87

  41. How many NEW participants were admitted to
      the mentoring program?
      A. Number of NEW participants admitted in
         pre-release services                                                                                 0                                                  0

      B. Number of NEW participants admitted in
         post-release services                                                                            13                                                     2

      C. Of the number of NEW participants enrolled in
         post-release, how many completed the
         pre-release program requirements?                                                                    0                                                  0

                                                                        PARTICIPANT CHARACTERISTICS - Assessment Activities
            Performance Measurement
                                                                            Jan - Mar 20                                       Apr - Jun 20
  42. Does the mentoring program use a risk
      assessment?                                                                                       Yes                                                Yes
  43. Is the risk assessment instrument validated?                                 Validated and normalized                          Validated and normalized
  44. What risk assessment instrument is used?
      A. Other                                                                                         Other Other
      B. If other, please specify

       Jan - Mar 20 The risk assessments will be used for the trauma informed and mentoring curricula, which are: Static 99-R, Adverse Childhood Events
                    (A.C.E.), Patient Health Questionnaire, Generalized Anxiety Disorder, Drug Abuse Screen Test, and Alcohol Use Disorders Identification
                    Test.

       Apr - Jun 20    The risk assessments will be used for the trauma informed and mentoring curricula, which are: Static 99-R, Adverse Childhood Events
                       (A.C.E.), Patient Health Questionnaire, Generalized Anxiety Disorder, Drug Abuse Screen Test, and Alcohol Use Disorders Identification
                       Test.

               Performance Measurement                                   PARTICIPANT CHARACTERISTICS - Assessment Activities

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     Low- Moderate- High-Risk Participants                                                          Pre-release
                                                                         Jan - Mar 20
  45. What was the risk assessment level of NEW pre-release participants?
        Low Risk                                                                                                                                    NR

        Moderate Risk                                                                                                                               NR

        High Risk                                                                                                                                   NR

        Don’t know                                                                                                                                  NR
        The sum of this table (Calculated Value) should
        be equal to the number of NEW participants
        enrolled in the program during the reporting
        period (Auto fill Value).                                                                                                                   NR

  *NR = not reported

                 Low- Moderate- High-Risk Participants                                                            Pre-release
                                                                             Apr - Jun 20
                 Low Risk                                                                                                                           NR

                 Moderate Risk                                                                                                                      NR

                 High Risk                                                                                                                          NR

                 Don’t know                                                                                                                         NR
                 The sum of this table (Calculated Value) should be equal to the
                 number of NEW participants enrolled in the program during the
                 reporting period (Auto fill Value).                                                                                                NR

  *NR = not reported

                                                                       PARTICIPANT CHARACTERISTICS - Assessment Activities
         Performance Measurement
                                                                         Jan - Mar 20                                      Apr - Jun 20
  46. How many NEW participants received a
      case plan (transition plan)?
      A. For participants receiving pre-release
         services                                                                                        0                                           0

                Performance Measurement                                  PARTICIPANT CHARACTERISTICS - Race, Ethnicity, and Gender
                             Ethnicity                                             Males                                    Females
                                                                         Jan - Mar 20
  47. Enter the appropriate ethnicity and gender, and then race and gender, of NEW participants admitted to the pre-release mentoring program.
        Hispanic or Latino/a                                                                        NR                                              NR

        Non-Hispanic or Latino/a                                                                    NR                                              NR

        Unknown                                                                                     NR                                              NR

        The sum of this table (Calculated Value) should be
        equal to the number of NEW participants admitted to
        the program during the reporting period (Auto fill
        Value).                                                                                     NR                                               0

  *NR = not reported

                                 Ethnicity                                                  Males                               Females
                                                                         Apr - Jun 20
               Hispanic or Latino/a                                                                          NR                                     NR

               Non-Hispanic or Latino/a                                                                      NR                                     NR

               Unknown                                                                                       NR                                     NR

               The sum of this table (Calculated Value) should be equal to
               the number of NEW participants admitted to the program
               during the reporting period (Auto fill Value).                                                NR                                     NR

  *NR = not reported



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                                  Race                                               Males                                       Females
                                                                          Jan - Mar 20
  47. Enter the appropriate ethnicity and gender, and then race and gender, of NEW participants admitted to the pre-release mentoring program.
         White                                                                                            0                                                    0

         Black or African American                                                                        0                                                    0

         Asian                                                                                            0                                                    0

         American Indian or Alaska Native                                                                 0                                                    0

         Pacific Islander or Native Hawaiian                                                              0                                                    0

         Multiracial                                                                                      0                                                    0

         Unknown                                                                                          0                                                    0

         The sum of this table (Calculated Value) should be equal
         to the number of NEW participants admitted to the
         program during the reporting period (Auto fill Value).                                           0                                                    0

                                   Race                                                 Males                                     Females
                                                                          Apr - Jun 20
                 White                                                                                        0                                                0

                 Black or African American                                                                    0                                                0

                 Asian                                                                                        0                                                0

                 American Indian or Alaska Native                                                             0                                                0

                 Pacific Islander or Native Hawaiian                                                          0                                                0

                 Multiracial                                                                                  0                                                0

                 Unknown                                                                                      0                                                0

                 The sum of this table (Calculated Value) should be                                               NR
                 equal to the number of NEW participants admitted to
                 the program during the reporting period (Auto fill
                 Value).                                                                                      0

  *NR = not reported

                                                              SUCCESSFUL AND UNSUCCESSFUL COMPLETIONS - Successful Completions
            Performance Measurement
                                                                            Jan - Mar 20                                       Apr - Jun 20
  48. Define successful completion for the mentoring
      program. Successful completion definitions can
      be either process-based (e.g., the program
      participant has completed 70% of program
      requirements or individual case plan within 1
      year) or outcome-based (e.g., the program
      participant has achieved core benchmark goals
      of the program that are not necessarily related to
      behaviors (such as, but not limited to, attaining
      stable housing, attaining employment, achieving
      a GED, etc.) within 1 year).

       Jan - Mar 20 Successful completion is based upon completion of our Trauma-informed and Mentoring Curricula, which has 4 modules each. Due to
                    discharge from program or dropouts, twenty-seven participants, which is 36% of a population of 75, will complete the program if 2
                    trauma-informed and 2 mentoring modules are done. Fifty-six participants, which is 75% of a population of 75, will complete the
                    program if they have completed all 4 trauma-informed and mentoring modules.

       Apr - Jun 20       Successful completion is based upon completion of our Trauma-informed and Mentoring Curricula, which has 4 modules each. Due to
                          discharge from program or dropouts, twenty-seven participants, which is 36% of a population of 75, will complete the program if 2
                          trauma-informed and 2 mentoring modules are done. Fifty-six participants, which is 75% of a population of 75, will complete the
                          program if they have completed all 4 trauma-informed and mentoring modules.

  49. What is the expected mentoring program
      length in months?
      A. For participants receiving pre-release services                                                  24                                                  24

      B. For participants receiving post-release
         services                                                                                         24                                                  24




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  50. Did any participants leave the program, either
      successfully or unsuccessfully, during the
      reporting period?                                                                             Yes                                             Yes
  51. Have any participants successfully completed
      the mentoring program requirements during the
      reporting period?
      A. Yes (Go to question 52)                                                                          Yes
         No (Go to question 53)                                                                      No

      B. If no, why have participants not
         successfully completed the mentoring
         program?

       Jan - Mar 20 Successful completion is based upon completion of our Trauma-informed and Mentoring Curricula, which has 4 modules each. Due to
                    discharge from program or dropouts, twenty-seven participants, which is 36% of a population of 75, will complete the program if 2
                    trauma-informed and 2 mentoring modules are done. Fifty-six participants, which is 75% of a population of 75, will complete the
                    program if they have completed all 4 trauma-informed and mentoring modules. No participants have met this criteria.

       Apr - Jun 20     NR

  52. How many participants successfully
      completed the mentoring program
      requirements?
      A. Number of participants who completed
         pre-release services                                                                        NR                                                  0

      B. Number of participants who completed
         post-release services                                                                       NR                                                  1

      C. Of those participants who completed
         post-release services, how many participants
         also successfully completed a pre-release
         program?                                                                                    NR                                                  0

                                                            SUCCESSFUL AND UNSUCCESSFUL COMPLETIONS - Unsuccessful Completions
            Performance Measurement
                                                                              Jan - Mar 20                               Apr - Jun 20
  53. Have any participants unsuccessfully exited
      the mentoring program during the reporting
      period?                                                                                       Yes                                                 No
  *NR = not reported

                                                                                     SUCCESSFUL AND UNSUCCESSFUL COMPLETIONS -
                      Performance Measurement
                                                                                                Unsuccessful Completions
                       Unsuccessful Completions                                                           Pre-release
                                                                          Jan - Mar 20
  54. Enter the number of individuals who did not complete the mentoring program for the categories below.
         Number of participants no longer in the program due to failure
         to meet program requirements                                                                                                                    0

         Number of participants no longer in the program due to court or
         criminal involvement (technical violation, arrest, conviction,
         revocation, reincarceration)                                                                                                                    0

         Number of participants no longer in the program due to a lack
         of engagement (no shows and nonresponsive participants)                                                                                         0

         Number of participants no longer in the program due to
         absconding                                                                                                                                      0

         Number of participants no longer in the program due to
         relocating or case transfer                                                                                                                     0

         Number of participants no longer in the program due to death
         or serious illness                                                                                                                              0

         Number of participants who did not complete the program for
         other reasons (please specify)                                                                                                                  0

         Specify other reasons (2000 characters)                                                                                                        NR

         The sum of this table (Calculated Value) should be less than or
         equal to the total number of participants enrolled in the
         pre-release program during the reporting period (Auto fill Value).                                                                              0



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  *NR = not reported

                             Unsuccessful Completions                                                                    Pre-release
                                                                         Apr - Jun 20
               Number of participants no longer in the program due to failure to meet
               program requirements                                                                                                                            NR

               Number of participants no longer in the program due to court or criminal
               involvement (technical violation, arrest, conviction, revocation,
               reincarceration)                                                                                                                                NR

               Number of participants no longer in the program due to a lack of
               engagement (no shows and nonresponsive participants)                                                                                            NR

               Number of participants no longer in the program due to absconding                                                                               NR

               Number of participants no longer in the program due to relocating or
               case transfer                                                                                                                                   NR

               Number of participants no longer in the program due to death or serious
               illness                                                                                                                                         NR

               Number of participants who did not complete the program for other              NR
               reasons (please specify)

               Specify other reasons (2000 characters)                                                                                                         NR

               The sum of this table (Calculated Value) should be less than or equal to
               the total number of participants enrolled in the pre-release program during
               the reporting period (Auto fill Value).                                                                                                         NR
  *NR = not reported

                          Unsuccessful Completions                                                                    Post-release
                                                                         Jan - Mar 20
  54. Enter the number of individuals who did not complete the mentoring program for the categories below.
        Number of participants no longer in the program due to failure to meet
        program requirements                                                                                                                                     1

        Number of participants no longer in the program due to court or criminal
        involvement (technical violation, arrest, conviction, revocation,
        reincarceration)                                                                                                                                         6

        Number of participants no longer in the program due to a lack of
        engagement (no shows and nonresponsive participants)                                                                                                     0

        Number of participants no longer in the program due to absconding                                                                                        0

        Number of participants no longer in the program due to relocating or
        case transfer                                                                                                                                            1

        Number of participants no longer in the program due to death or serious
        illness                                                                                                                                                  0

        Number of participants who did not complete the program for other
        reasons (please specify)                                                                                                                                 8

        Specify other reasons (2000 characters). If none, please enter "n/a".                 3 participants met their parole requirements and was released from
                                                                                             services. 5 participants had employment that conflicted with services
                                                                                                                               and they opted out of the program.

        The sum of this table (Calculated Value) should be less than or equal to the
        total number of participants enrolled in the post-release program during the
        reporting period (Auto fill Value).                                                                                                                     16

                            Unsuccessful Completions                                                                   Post-release
                                                                         Apr - Jun 20
               Number of participants no longer in the program due to failure to
               meet program requirements                                                                                                                       NR

               Number of participants no longer in the program due to court or
               criminal involvement (technical violation, arrest, conviction,
               revocation, reincarceration)                                                                                                                    NR

               Number of participants no longer in the program due to a lack of
               engagement (no shows and nonresponsive participants)                                                                                            NR

               Number of participants no longer in the program due to absconding                                                                               NR


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                Number of participants no longer in the program due to relocating or
                case transfer                                                                                                              NR

                Number of participants no longer in the program due to death or
                serious illness                                                                                                            NR

                Number of participants who did not complete the program for other          NR
                reasons (please specify)

                Specify other reasons (2000 characters). If none, please enter "n/a".                                                      NR

                The sum of this table (Calculated Value) should be less than or equal to
                the total number of participants enrolled in the post-release program
                during the reporting period (Auto fill Value).                                                                             NR
  *NR = not reported

                                                                                 SUCCESSFUL AND UNSUCCESSFUL COMPLETIONS - Outcomes
                          Performance Measurement
                                                                                              for Post-release Program Exits
           Low-Moderate-and High-Risk Program Exits                                                Successful Completers
                                                                          Jan - Mar 20
  55. What was the risk assessment level for those individuals who exited post-release services?
         Low Risk                                                                                                                          NR

         Moderate Risk                                                                                                                     NR

         High Risk                                                                                                                         NR

         Don't Know                                                                                                                        NR

         The sum of the column (Calculated Value) should be equal to the
         number of successful completers who exited the program. (Auto fill
         Value).                                                                                                                           NR
         The number of successful completers who exited the program.
         (Auto fill Value).                                                                                                                NR

  *NR = not reported

                       Low-Moderate-and High-Risk Program Exits                                          Successful Completers
                                                                          Apr - Jun 20
               Low Risk                                                                                                                     1

               Moderate Risk                                                                                                                0

               High Risk                                                                                                                    0

               Don't Know                                                                                                                   0

               The sum of the column (Calculated Value) should be equal to the number of
               successful completers who exited the program. (Auto fill Value).                                                             1
               The number of successful completers who exited the program. (Auto fill Value).                                               1

                Low-Moderate-and High-Risk Program Exits                                            Unsuccessful Completers
                                                                          Jan - Mar 20
  55. What was the risk assessment level for those individuals who exited post-release services?
         Low Risk                                                                                                                           3

         Moderate Risk                                                                                                                      7

         High Risk                                                                                                                          6

         Don't Know                                                                                                                         0

         Sum of the column (Calculated Value) should be equal to the number of
         unsuccessful completers who exited the program during the reporting
         period. (Auto fill Value)                                                                                                         16
         Sum number of unsuccessful completers who exited the program during
         the reporting period. (Auto fill Value)                                                                                           16

                     Low-Moderate-and High-Risk Program Exits                                         Unsuccessful Completers
                                                                           Apr - Jun 20
               Low Risk                                                                                                                    NR


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            Moderate Risk                                                                                                                           NR

            High Risk                                                                                                                               NR

            Don't Know                                                                                                                              NR

            Sum of the column (Calculated Value) should be equal to the number of
            unsuccessful completers who exited the program during the reporting period.
            (Auto fill Value)                                                                                                                       NR
            Sum number of unsuccessful completers who exited the program during the
            reporting period. (Auto fill Value)                                                                                                     NR

  *NR = not reported

  Post-release Program Exits and Employment                                Exited with Employment                                 Don't Know
                                                                      Jan - Mar 20
  56. How many post-release participants exited the mentoring program and were employed during the reporting period?
        Participants who successfully completed the
        program                                                                                                      NR                             NR

        The sum of the row (Calculated Value) should be
        less than or equal to the number of successful
        completers who exited the program during the
        reporting period. (Auto fill Value)                                                                          NR                             NR

  *NR = not reported

   Post-release Program Exits and Employment                                 Exited with Employment                                Don't Know
                                                                      Apr - Jun 20
            Participants who successfully completed the
            program                                                                                                    1                             0

            The sum of the row (Calculated Value) should
            be less than or equal to the number of
            successful completers who exited the program
            during the reporting period. (Auto fill Value)                                                             1                             1

      Post-release Program Exits and Employment                                 Exited with Employment                             Don't Know
                                                                      Jan - Mar 20
            Participants who unsuccessfully completed the
            program                                                                                                    16                            0

            The sum of the row (Calculated Value) should be less
            than or equal to the number of unsuccessful
            completers who exited the program during the
            reporting period. (Auto fill Value)                                                                        16                           16

      Post-release Program Exits and Employment                                 Exited with Employment                             Don't Know
                                                                      Apr - Jun 20
            Participants who unsuccessfully completed the
            program                                                                                                    NR                           NR

            The sum of the row (Calculated Value) should be less
            than or equal to the number of unsuccessful
            completers who exited the program during the
            reporting period. (Auto fill Value)                                                                        NR                           NR

  *NR = not reported

        Post-release Program Exits and Housing                                 Exited with Housing                              Don't Know
                                                                      Jan - Mar 20
  57. How many post-release participants exited the mentoring program and were housed during the reporting period?
        Participants who successfully completed the program                                                   NR                                    NR

        The sum of the row (Calculated Value) should be less
        than or equal to the number of successful completers who
        exited the program during the reporting period. (Auto fill
        Value)                                                                                                NR                                    NR

  *NR = not reported



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          Post-release Program Exits and Housing                               Exited with Housing                Don't Know
                                                                       Apr - Jun 20
              Participants who successfully completed the program                                       1                              0

              The sum of the row (Calculated Value) should be less
              than or equal to the number of successful completers
              who exited the program during the reporting period.
              (Auto fill Value)                                                                         1                              1

             Post-release Program Exits and Housing                               Exited with Housing              Don't Know
                                                                       Jan - Mar 20
             Participants who unsuccessfully completed the program                                      16                             0

             The sum of the row (Calculated Value) should be less than or
             equal to the number of unsuccessful completers who exited
             the program during the reporting period. (Auto fill Value)                                 16                            16

             Post-release Program Exits and Housing                               Exited with Housing              Don't Know
                                                                       Apr - Jun 20
             Participants who unsuccessfully completed the program                                      NR                            NR

             The sum of the row (Calculated Value) should be less than or
             equal to the number of unsuccessful completers who exited
             the program during the reporting period. (Auto fill Value)                                 NR                            NR

  *NR = not reported

                                                            TREATMENT INTERVENTIONS AND SERVICES - Cognitive-based Services
          Performance Measurement
                                                                       Jan - Mar 20                          Apr - Jun 20
  58. Does the mentoring program refer individuals
      out to other agencies to receive
      cognitive-based services?                                                              No                                      No
  59. How many NEW participants were
      referred out to receive cognitive-based
      services?
      A. For participants receiving pre-release
         services                                                                             NR                                      NR
      B. For participants receiving post-release
         services                                                                             NR                                      NR
  60. Does the mentoring program provide
      cognitive-based services directly to
      participants?                                                                          Yes                                     Yes
  61. How many total participants were enrolled
      in cognitive-based services that were directly
      provided during the reporting period?
      A. For participants receiving pre-release
         services                                                                              0                                       0
      B. For participants receiving post-release
         services                                                                             85                                      73
  62. How many NEW participants were
      enrolled in cognitive-based services that
      were directly provided?
      A. For participants receiving pre-release
         services                                                                              0                                       0
      B. For participants receiving post-release
         serviecs                                                                             13                                       2

                                                             TREATMENT INTERVENTIONS AND SERVICES - Mental Health Services
          Performance Measurement
                                                                       Jan - Mar 20                          Apr - Jun 20
  63. Does the mentoring program refer individuals
      out to other agencies to receive mental health
      services?                                                                              No                                      No




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  64. How many NEW participants were
      referred out to receive mental health
      services?
      A. For participants receiving post-release
         services                                                                  NR                                      NR
  65. Does the mentoring program provide mental
      health services directly to participants?                                   Yes                                     Yes
  66. How many total participants were enrolled
      in mental health services that were directly
      provided during the reporting period?
      A. For participants receiving post-release
         services                                                                   4                                       3
  67. How many NEW participants were
      enrolled in mental health services that were
      directly provided?
      A. For participants receiving post-release
         services                                                                   3                                       0

                                                      TREATMENT INTERVENTIONS AND SERVICES - Substance Abuse Services
          Performance Measurement
                                                              Jan - Mar 20                        Apr - Jun 20
  68. Does the mentoring program refer individuals
      out to other agencies to receive substance
      abuse services?                                                              No                                     No
  69. How many NEW participants were
      referred out to receive substance abuse
      services?
      A. For participants receiving post-release
         services                                                                  NR                                      NR
  70. Does the mentoring program provide
      substance abuse services directly to
      participants?                                                               Yes                                     Yes
  71. How many total participants were enrolled
      in substance abuse services that were
      directly provided during the reporting
      period?
      A. For participants receiving post-release
         services                                                                   2                                       2
  72. How many NEW participants were
      enrolled in substance abuse services that
      were directly provided?
      A. For participants receiving post-release
         services                                                                   2                                       0

                                                       TREATMENT INTERVENTIONS AND SERVICES - Employment Services
          Performance Measurement
                                                              Jan - Mar 20                        Apr - Jun 20
  73. Does the mentoring program refer individuals
      out to other agencies to receive employment
      services?                                                                   Yes                                     Yes
  74. How many NEW participants were
      referred out to receive employment
      services?
      A. For participants receiving post-release
         services                                                                   0                                       0
  75. Does the mentoring program provide
      employment services directly to participants?                                No                                     No
  76. How many total participants were enrolled
      in employment services that were directly
      provided during the reporting period?
      A. For participants receiving post-release
         services                                                                  NR                                      NR
  77. How many NEW participants were enrolled
      in employment services that were directly
      provided?


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      A. For participants receiving post-release
         services                                                                 NR                                      NR
  78. How many participants who were directly
      provided with employment services obtained
      employment?
      A. For participants receiving post-release
         services                                                                 NR                                      NR

                                                       TREATMENT INTERVENTIONS AND SERVICES - Educational Services
          Performance Measurement
                                                             Jan - Mar 20                        Apr - Jun 20
  79. Does the mentoring program refer individuals
      out to other agencies to receive educational
      services?                                                                  Yes                                     Yes
  80. How many NEW participants were
      referred out to receive educational services?
      A. For participants receiving post-release
         services                                                                  0                                       0
  81. Does the mentoring program provide
      educational services directly to participants?                              No                                     No
  82. How many total participants were enrolled
      in educational services that were directly
      provided during the reporting period?
      A. For participants receiving post-release
         services                                                                 NR                                      NR
  83. How many NEW participants were
      enrolled in educational services that were
      directly provided?
      A. For participants receiving post-release
         services                                                                 NR                                      NR
  84. How many participants who were directly
      provided with educational services obtained a
      high school diploma or equivalent (GED)?                                   NR                                      NR
  85. How many participants who were directly
      provided with educational services obtained a
      vocational certificate?
      A. For participants receiving post-release
         services                                                                 NR                                      NR
  86. How many participants who were directly
      provided with educational services obtained a
      higher education?
      A. For participants receiving post-release
         services                                                                 NR                                      NR

                                                        TREATMENT INTERVENTIONS AND SERVICES - Housing Services
          Performance Measurement
                                                             Jan - Mar 20                        Apr - Jun 20
  87. Does the mentoring program refer individuals
      out to other agencies to receive housing
      services?                                                                  Yes                                     Yes
  88. How many NEW participants were
      referred out to receive housing services?
      A. For participants receiving post-release
         services                                                                  0                                       0
  89. Does the mentoring program provide housing
      services directly to participants?                                          No                                     No
  90. How many total participants were enrolled
      in housing services that were directly
      provided during the reporting period?
      A. For participants receiving post-release
         services                                                                 NR                                      NR
  91. How many NEW participants were
      enrolled in housing services that were
      directly provided?



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      A. For participants receiving post-release
         services                                                                                      NR                                              NR
  92. How many participants who were directly
      provided with services obtained housing?                                                        NR                                              NR
  *NR = not reported

                                                                   Affordable Care Act (ACA) Implementation Health Reform - Direct Services
              Performance Measurement
                                                                              Jan - Mar 20                                       Apr - Jun 20
  1. During the reporting period, did you serve or provide
     direct services to a population of program participants?
     Services delivered to participants can be funded
     through a direct grant, contract, or subaward.                                                        Yes                                        Yes

                                                                   Affordable Care Act (ACA) Implementation Health Reform - Eligibility and
              Performance Measurement                                                            Enrollment
                                                                              Jan - Mar 20                                       Apr - Jun 20
  2. Does your program track health care coverage for
     participants? This includes screening participants for
     health care eligibility, providing enrollment
     services/support, or tracking/gathering information
     regarding participants who already have health care.
     Health care includes programs such as Medicaid,
     Medicare, or veterans benefits.                                                                        No                                        No

                                                                Affordable Care Act (ACA) Implementation Health Reform - Eligibility and
          Performance Measurement
                                                                                              Enrollment
                                                           During the reporting          During the reporting period
                                                         period how many NEW                  how many program                    During the reporting
                                                          program participants           participants were found to                  period how many
                                                         came into the program                 be ELIGIBLE for:                   program participants
                                                                   with:                   (Eligible participants are              were ENROLLED in:
                       Measure                            (NEW participants are              those who meet the                  (Enrolled participants
                                                             those who began             requirements to qualify for               are those who were
                                                            participating in the          health care coverage. Not              enrolled in health care
                                                        program for the first time        all eligible applicants will             benefits during the
                                                           during the reporting           necessarily be enrolled in                reporting period.)
                                                                 period.)                          coverage.)
                                                                         Jan - Mar 20
  3. Please complete the following table about health care and Medicaid coverage for your program during the reporting period.
        ANY health care coverage
        (Health care coverage includes both private
        health insurance and government health
        benefits. Examples include health insurance
        that is employment based, marketplace
        coverage/self-insured, Medicare, Medicaid,
        military health care, or benefits from the
        Department of Veterans Affairs.)                                            NR                                   NR                            NR

        Of those, Medicaid coverage
        (Medicaid is a joint federal–state program
        that provides health coverage or nursing
        home coverage to people meeting the
        Federal low-income level qualifications,
        including children, pregnant women,
        parents of eligible children, people with
        disabilities, and elderly people needing
        nursing home care.)                                                         NR                                   NR                            NR

  *NR = not reported

                                                           During the reporting              During the reporting
                                                         period how many NEW             period how many program                  During the reporting
                                                          program participants           participants were found to                 period how many
                                                         came into the program                 be ELIGIBLE for:                   program participants
                                                                   with:                  (Eligible participants are               were ENROLLED in:
                       Measure                            (NEW participants are              those who meet the                  (Enrolled participants
                                                             those who began             requirements to qualify for               are those who were
                                                            participating in the          health care coverage. Not              enrolled in health care
                                                        program for the first time        all eligible applicants will             benefits during the
                                                           during the reporting           necessarily be enrolled in                reporting period.)

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                                                           during the reporting            necessarily be enrolled in              reporting period.)
                                                                 period.)                         coverage.)
                                                                        Apr - Jun 20
         ANY health care coverage
         (Health care coverage includes both private
         health insurance and government health
         benefits. Examples include health insurance
         that is employment based, marketplace
         coverage/self-insured, Medicare, Medicaid,
         military health care, or benefits from the
         Department of Veterans Affairs.)                                            NR                                   NR                               NR

         Of those, Medicaid coverage
         (Medicaid is a joint federal–state program
         that provides health coverage or nursing
         home coverage to people meeting the
         Federal low-income level qualifications,
         including children, pregnant women,
         parents of eligible children, people with
         disabilities, and elderly people needing
         nursing home care.)                                                         NR                                   NR                               NR

  *NR = not reported

                                                                       During the reporting period how
                                                                       many program participants were                During the reporting period how
                                                                      found to be ELIGIBLE at exit for:                many program participants
                                                                     (Eligible participants are those who              were ENROLLED at exit in:
                            Measures
                                                                       meet the requirements to qualify              (Enrolled participants are those
                                                                       for health care coverage. Not all               who were enrolled in health
                                                                      eligible applicants will necessarily            care benefits at program exit.)
                                                                            be enrolled in coverage.)
                                                                        Jan - Mar 20
  4. Please complete the following table for health care and Medicaid coverage for participants EXITING the program during the reporting period. Program exit
     can either mean successfully completing program requirements or unsuccessfully exiting without completing all program requirements and can occur at
     any time during the reporting period.
        ANY health care coverage
        (Health care coverage includes both private health
        insurance and government health benefits. Examples
        include health insurance that is employment based,
        marketplace coverage/self-insured, Medicare, Medicaid,
        military health care, or benefits from the Department of
        Veterans Affairs.)                                                                                     NR                                          NR

        Of those, Medicaid coverage
        (Medicaid is a joint federal–state program that provides
        health coverage or nursing home coverage to people
        meeting the Federal low-income level qualifications,
        including children, pregnant women, parents of eligible
        children, people with disabilities, and elderly people
        needing nursing home care.)                                                                            NR                                          NR
  *NR = not reported

                                                                        During the reporting period how
                                                                       many program participants were                  During the reporting period
                                                                       found to be ELIGIBLE at exit for:                    how many program
                                                                        (Eligible participants are those             participants were ENROLLED at
                             Measures                                    who meet the requirements to                             exit in:
                                                                       qualify for health care coverage.             (Enrolled participants are those
                                                                         Not all eligible applicants will              who were enrolled in health
                                                                           necessarily be enrolled in                 care benefits at program exit.)
                                                                                    coverage.)
                                                                        Apr - Jun 20
          ANY health care coverage
          (Health care coverage includes both private health
          insurance and government health benefits. Examples
          include health insurance that is employment based,
          marketplace coverage/self-insured, Medicare, Medicaid,
          military health care, or benefits from the Department of
          Veterans Affairs.)                                                                                    NR                                         NR




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          Of those, Medicaid coverage                                             NR
          (Medicaid is a joint federal–state program that provides
          health coverage or nursing home coverage to people
          meeting the Federal low-income level qualifications,
          including children, pregnant women, parents of eligible
          children, people with disabilities, and elderly people
          needing nursing home care.)                                        NR
  *NR = not reported




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Grantee Comments
Grantee comments were added as follows:

                                              January to March 2020
  [No Comments Entered]

                                                April to June 2020
  [No Comments Entered]




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Narrative
Grantee-level narrative for the period January 1, 2020 - June 30, 2020 were reported as follows:

                                                                 Narrative Information
                                                      If applicable above, select 'Enter Narrative'.
  Question:                          What were your accomplishments during reporting period?

  Response:
  Our accomplishment was during the COVID-19 pandemic we were able to continue our programming with part of our post-release population via Telehealth.
  Question:                          What goals were accomplished, as they relate to your grant application?

  Response:
  We were able to continue with our modules, gather data for research, and meet with our stakeholders via Telehealth.
  Question:                          What problems/barriers did you encounter, if any, within the reporting period that prevented you from reaching your goals
                                     or milestones?

  Response:
  The COVID-19 pandemic prevented us from completing our case management referral needs, as well as limiting the interactions with our probation and parole
  officers. Also, it prevented us from providing services to our pre-release population at the Cook County jail because of their lock down due their outbreak of
  COVID-19. In addition, services were discontinued at our post-release Special Needs Unit because of the State's Stay at Home Order. Housing for sex
  offenders is an ongoing barrier, specifically transitional housing. Our pre-release population at the Cook County Department of Corrections is holding
  individuals accused of a sex offense crimes without conviction and cannot be released due to a lack of housing and court calls. Our post-release partners,
  Illinois Department of Corrections, is holding people who should be on parole because of the lack of housing. I sent this letter to the Director of the Illinois
  Department of Corrections and copied Congressman Danny K. Davis, Congresswoman Robyn Kelly, Chicago Mayor Lori Lightfoot, and other Illinois
  Department of Corrections staff. This letter and other documents addresses this housing issue. This is the link to the letter and documents I sent to the
  Illinois Department of Corrections Director, Rob Jeffreys: https://drive.google.com/file/d/13tKaMkpHUK3qXMmAV_o9jttY2pG4O849/view?usp=sharing.

  I copied IDOC staff. This is a reply to Ms. Jennifer Parrack, Director of IDOC Reentry Program, who responded to my letter to Director Jeffreys: Thank you. I
  know the processes. My interest is advocacy and promotion of the Second Chance Act. As stated before, I am a member of Congressman Davis' Second
  Chance Act Advisory Committee since 2007, now known as Reentry Committee. I have also been a peer reviewer for the Department of Justice, Bureau of
  Justice Assistance, Office of Justice Programs since 2009. States, Counties, Local Municipalities, and Local City Wards accepting Second Chance Act funding
  must adhere to all components of the Act/Bill, which includes housing all returning citizens if reporting they are providing any type housing. We cannot
  discriminate against any class of returning citizens. Therefore, States, Counties, Local Municipalities and Cities should not receive Second Chance Act funding
  if they are going to restrict housing for a particular group or class of returning citizens. All of us have a duty to advocate for this population, which in this
  case are sex offenders being released from jails and prisons needing transitional and permanent housing. I am adding Andre Bethea to this email chain. Mr.
  Bethea is Policy Advisor - Corrections, Bureau of Justice Assistance, Office of Justice Programs, U.S. Department of Justice.
  Question:                          Is there any assistance that BJA can provide to address any problems/barriers identified in question #3?

  Response:
  Yes

  DOJ, BJA, OJP should evaluate the feasibility of providing funding to State, Cities, and Local Government that do not provide housing options according to the
  Second Chance Act.
  Question:                          Are you on track to fiscally and programmatically complete your program as outlined in your grant application? (Please
                                     answer YES or NO and if no, please explain.)

  Response:
  No

  COVID-19 has prevented us from fulfilling the goals and objectives our P&I Implementation Guide.
  Question:                          What major activities are planned for the next 6 months?

  Response:
  Reinstitution of our trauma and mentoring curricula as outlined in our P&I Implementation Guide. The re-engagement of our programs with the Cook County
  jail and Special Needs Unit. We will continue to advocate for 90-day transitional and permanent housing.
  Question:                          Based on your knowledge of the criminal justice field, are there any innovative programs/accomplishments that you would
                                     like to share with BJA?

  Response:
  The sharing of our MA`AT program, which is an innovative approach, is designed to serve and facilitate the successful reentry of the sex offender population.
  Question:                          Does the grantee have any success stories that BJA can highlight and share with the public?

  Response:
  Yes

  Since enrollment, we have a high rate of retention and a large percentage of our population is still employed.

                                                         For more information contact bjapmt@ojp.usdoj.gov
                                                  Toll-free Technical Assistance Helpdesk Number: 1-888-252-6867




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